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                                                               MEMORANDUM ENDORSED
                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

  PARKING TECHNOLOGY HOLDINGS LLC,

                          Plaintiff,                      Civil Action No. 1:20-cv-03156-PGG-
                                                          GWG
                  v.
                                                          JURY TRIAL DEMANDED
  PARK ASSIST, LLC,

                          Defendant.

                       JOINT MOTION TO STAY ALL DEADLINES AND
                          NOTICE OF SETTLEMENT IN PRINCIPLE

       Plaintiff Parking Technology Holdings LLC and Defendant Park Assist, LLC (collectively,

“the Parties”) respectfully submit this Joint Motion to Stay All Deadlines and Notice of Settlement

in Principle.

       On September 20, 2024, the Parties reached a resolution in principle and are in the process

of negotiating the documentation of that resolution. The Parties respectfully request that the Court

grant a stay of all proceedings until October 11, 2024. If the parties have not finalized an agreement

by that time, they will return to the Court to seek a further order governing the timing of the case.

       The Parties submit that good cause exists for granting this agreed Joint Motion, as set forth

above. This Joint Motion is not filed for purposes of delay, but so that justice may be served.

       Accordingly, the Parties respectfully request that the Court enter the proposed order

submitted with this Joint Motion.



Dated: September 23, 2024




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 All deadlines in this matter are extended for a period of 17 days.

 So Ordered.




                  September 24, 2024




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